Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 1 of 77        FILED
                                                                     2024 Aug-30 PM 03:27
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 2 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 3 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 4 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 5 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 6 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 7 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 8 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 9 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 10 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 11 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 12 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 13 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 14 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 15 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 16 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 17 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 18 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 19 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 20 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 21 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 22 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 23 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 24 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 25 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 26 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 27 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 28 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 29 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 30 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 31 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 32 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 33 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 34 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 35 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 36 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 37 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 38 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 39 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 40 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 41 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 42 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 43 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 44 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 45 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 46 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 47 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 48 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 49 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 50 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 51 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 52 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 53 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 54 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 55 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 56 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 57 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 58 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 59 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 60 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 61 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 62 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 63 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 64 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 65 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 66 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 67 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 68 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 69 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 70 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 71 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 72 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 73 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 74 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 75 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 76 of 77
Case 2:24-cv-00613-LSC   Document 25-1   Filed 08/30/24   Page 77 of 77
